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   Rev: /20




                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA
              vs.                                       Criminal No.               19-374-1


  AHMAD KHAWAJA
                                                     Category     B




                      Defendant(s)



                                  REASSIGNMENT OF CRIMINAL CASE


   The above-entitled case was reassigned on         2/5/2020      from Judge Randolph D. Moss

to Calendar Committee                         by direction of the Calendar Committee.



                                  (Defendant is a Fugitive)


                                                              JUDGE ELLEN S. HUVELLE
                                                              Chair, Calendar and Case
                                                              Management Committee




   cc:        Judge Randolph D. Moss                          & Courtroom Deputy
              Calendar Committee

              U.S. Attorney’s Office – Judiciary Square Building, Room 5133
              Statistical Clerk
